                    Case 1:20-cr-00212-LL-BAM Document 45 Filed 11/19/20 Page 1 of 3
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                    Page l of   3   Pages



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of California


                    United States of America                             )
                                   V.                                    )
                                                                         )        Case No.     1:20-cr-00212-DAD-BAM
        VINCENTE SALVADOR ARENAS-GARCIA                                  )
                                                                         )
                               Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(I)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               United States Courthouse, 2500 Tulare Street, Fresno, CA
                                                                                            Place
       Courtroom 8 before Magistrate Judge Barbara A McAuliffe

      011                                                          1/27/2021 at 1:00 PM
                                                                        Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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    AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions ofRelease (General)                                                      Page   [I] of [TI Pages
    ARENAS-GARCIA, Vincente Salvador
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                                                   ADDITIONAL CONDITIONS OF RELEASE
#                                                                               #
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

    □     (6)        The defendant is placed in the custody of:

                        Name of person or organization

              who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
              defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
              release or disappears.

                       SIGNED: _ _ _ _ __ _ _ _ _ __
                                         CUSTODIAN
    0     (7)        The defendant must:
          0          (a) report on a regular basis to the following agency:
                         Pretrial Services and comply with their rules and regulations;
          0          (b) report by telephone to the Pretrial Services Agency upon your release from custody;
          0          (c) reside at a location approved by the PSO, and not move or be absent from this residence for more than 24 hrs.
                         without prior approval of PSO; travel restricted to the Eastern District of California, unless otherwise approved
                         in advance by PSO;
          0          (d) report any contact with law enforcement to your PSO within 24 hours;
          0          (e) cooperate in the collection ofa DNA sample;
          0          (t) not associate or have any contact with any co-defendants, unless in the presence of counsel or otherwise approved
                         in advance by the PSO;
          0          (g) surrender your Mexican passport to defense counsel, who will surrender it to the Clerk, U.S. District Court, and
                         you must not apply for or obtain a passport or any other travel documents during the pendency of this case;
          0          (h) not possess, have in your residence, or have access to a firearm /ammunition, destructive device, or other
                         dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition,
                         currently under your control;
          0          (i) refrain from excessive use of alcohol, or any use of a narcotic drug or other controlled substance without a
                         prescription by a licensed medical practitioner; and you must notify Pretrial Services immediately of any
                         prescribed medication(s). However, medical marijuana, prescribed and/or recommended, may not be used;
          0          (j) execute a bond or an agreement to forfeit upon failing to appear or failure to abide by any of the conditions of
                         release, the following sum of money or designated property: A $7,000 cash bond;
          0          (k) following your release from custody, you must complete a 14-day quarantine period at your family residence.
                         During this I 4-day quarantine period, you must remain inside your residence at all times except for medical needs
                         preapproved by the Pretrial Services Officer. You must comply with any and all telephonic and virtual (video)
                         reporting instructions given to you by the Pretrial Services office;
          0          (I) following the 14-day quarantine period, you must attempt to obtain a COVID- I 9 test with a medical provider at
                         a location approved by the Pretrial Services Officer, and you must report the results of your COVID-19 test to
                         Pretrial Services immediately upon receipt;
          0          (m) upon completion of the 14-day quarantine period and after you have submitted a negative COVID-19 test result
                         to Pretrial Services, you must participate in the following Location Monitoring program component and abide by
                         all the requirements of the program, which will include having a location monitoring unit installed in your
                         residence and a radio frequency transmitter device attached to your person. You must comply with all instructions
                         for the use and operation of said devices as given to you by the Pretrial Services Agency and employees of the
                         monitoring company. You must pay all or part of the costs of the program based upon your ability to pay as
                         determined by the PSO; HOME INCARCERATION: You must remain inside your residence at all times except
                         for medical needs or treatment, religious services, and court appearances pre-approved by the PSO; and

                     USMS SPECIAL INSTRUCTIONS:
          0          (n)    have your release on bond delayed until 9:00 a.m., on the next business day following the posting of the bond, at
                            which time you must go directly from the Kem County Jail to your residence and contact Pretrial Services to
                            receive further reporting instructions.
              #
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AO 199C (Rev. 09/08- EDCA [Fresno]) Advice of Penalties                                                     Page   3         of   3   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i. e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




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                                                Directions to the United States Marshal

( [Z]) The defendant is ORDERED released after processing.



Date:     November 19, 2020
        - - - -- - - -- - -                                                        Judicial Officer 's Signature

                                                          Jennifer L. Thurston, U.S. Magistrate Judge
                                                                                     Printed name and title




                    DISTRIBUTION:      COURT      DEFENDANT     PRETRIAL SERVICE     U.S. ATTORNEY            U.S. MARSHAL
